                 Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 1 of 21




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 3
                                UNITED STATES DISTRICT COURT
 4                        FOR THE WESTERN DISTRICT OF WASHINGTON
 5
       KRISTI L. CAMERON, an individual,
 6
                                Plaintiff,                 No.
 7
                 vs.                                       PLAINTIFF’S ORIGINAL
 8                                                         COMPLAINT
 9     COOK INCORPORATED; COOK
       MEDICAL INCORPORATED; COOK
10     GROUP INCORPORATED; COOK                            JURY DEMAND
       MEDICAL, LLC;
11
                               Defendants.
12

13

14

15          Plaintiff KRISTI L. CAMERON, by and through her undersigned attorney, hereby sues
16   defendants Cook Incorporated, Cook Incorporated a/k/a Cook Medical Incorporated, Cook Group
17   Incorporated, Cook Medical, LLC, alleges as follows:
18                                                PARTIES
19          1.         Plaintiff KRISTI L. CAMERON (hereinafter “Plaintiff”) at all times relevant to
20   this action resided in, continues to reside in, and is a citizen of Pierce County, Washington.
21          2.         Defendant Cook Incorporated was and is an Indiana corporation with its principal
22   place of business located at 750 Daniels Way, Bloomington, Indiana 47402. At all times relevant
23   to this action, Cook Incorporated designed, set specifications, manufactured, prepared,
24   compounded, assembled, processed, promoted, marketed, distributed and/or sold the inferior vena
25   cava filter (“IVC Filter”) known as the Celect™ Vena Cava Set (hereinafter “Cook filter”) to be



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                 Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 2 of 21




 1   implanted in patients throughout the United States, including Washington. At all times relevant
 2   hereto, Defendant Cook Incorporated was engaged in business in Washington, has conducted
 3   substantial business activities, and derived substantial revenue from within the State of
 4   Washington. This Defendant has also carried on solicitations or service activities in Washington.
 5          3.       Defendant Cook Medical Incorporated is a wholly owned subsidiary of Defendant
 6   Cook Incorporated with its principal place of business located at 750 Daniels Way, Bloomington,
 7   Indiana 47402.     Defendant Cook Medical Incorporated was and is an Indiana corporation
 8   authorized and/or doing business in the state of Washington. At all times relevant to this action,
 9   Cook Medical Incorporated designed, set specifications, manufactured, prepared, compounded,
10   assembled, processed, promoted, marketed, distributed and/or sold the IVC Filter known as the
11   Celect™ Vena Cava Set to be implanted in patients throughout the United States, including
12   Washington. At all times relevant hereto, Defendant Cook Medical Incorporated was engaged in
13   business in Washington, has conducted substantial business activities, and derived substantial
14   revenue from within the State of Washington. This Defendant has also carried on solicitations or
15   service activities in Washington.
16          4.       Defendant Cook Group Incorporated was and is an Indiana corporation having its
17   principal place of business located at 750 Daniels Way, Bloomington, Indiana 47402. At all times
18   relevant to this action, Cook Group Incorporated designed, set specifications, manufactured,
19   prepared, compounded, assembled, processed, promoted, marketed, distributed and sold the IVC
20   Filter known as the Celect™ Vena Cava Set to be implanted in patients throughout the United
21   States, including Washington. At all times relevant hereto, Defendant Cook Group Incorporated
22   was engaged in business in Washington, has conducted substantial business activities, and derived
23   substantial revenue from within the state of Washington. This Defendant has also carried on
24   solicitations or service activities in Washington.
25          5.       Defendant Cook Medical, LLC was and is an Indiana limited liability corporation



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                 Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 3 of 21




 1   with its principal place of business located at 750 Daniels Way, Bloomington, Indiana 47402 with
 2   its sole member being Cook Incorporated and maintains its principal place of business located at
 3   750 Daniels Way, Bloomington, Indiana 47402. At all times relevant to this action, Cook Medical,
 4   LLC designed, set specifications, manufactured, prepared, compounded, assembled, processed,
 5   promoted, marketed, distributed and/or sold the IVC Filter known as the Celect™ Vena Cava Set
 6   to be implanted in patients throughout the United States, including Washington. At all times
 7   relevant hereto, Cook Medical, LLC was registered to do business with the state of Washington.
 8   At all times relevant hereto, Defendant Cook Medical LLC was engaged in business in
 9   Washington, has conducted substantial business activities, and derived substantial revenue from
10   within the state of Washington. This Defendant has also carried on solicitations or service
11   activities in Washington.
12          6.       Defendants Cook Incorporated, Cook Medical Incorporated, Cook Group
13   Incorporated, and Cook Medical, LLC, shall be referred to herein individually by name or
14   collectively as the “Cook Defendants.”
15          7.       At all times alleged herein, Cook Defendants include and included any and all
16   parent companies, subsidiaries, affiliates, divisions, franchises, partners, joint venturers, and
17   organizational units of any kind, their predecessors, successors, and assigns and their officers,
18   directors, employees, agents, representatives, and any and all other persons acting on their behalf.
19          8.       At all times herein mentioned, each of the Cook Defendants were the agents,
20   servants, partners, predecessors in interest, and joint venturers of each other, and were at all times
21   operating and acting with the purpose and scope of said agency, service, employment, partnership,
22   joint enterprise, and/or joint venture.
23                                    JURISDICTION AND VENUE
24          9.       Jurisdiction is proper in this court under 28 U.S.C.§ 1332(a)(1) because the Plaintiff
25   and the Defendants are citizens of different states, and the amount in controversy exceeds seventy-



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              Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 4 of 21




 1   five thousand dollars ($75,000.00), exclusive of interest and costs.
 2          10.     Venue is proper in this court under 28 U.S.C. § 1391 because a substantial part of
 3   the events or omissions giving rise to the claim occurred within this judicial district and the
 4   Defendants regularly conduct business in this district.
 5                              GENERAL FACTUAL ALLEGATIONS
 6          11.     Plaintiff brings this case against the Cook Defendants because of the serious, life-
 7   threatening injury she has suffered as a result of the Cook Defendants’ surgically implanted
 8   medical device, the Cook Celect filter, that was implanted by Tod Wurst, M.D. at Tacoma General
 9   Hospital currently known as MultiCare Tacoma General Hospital in Tacoma, Washington on
10   September 25, 2009.
11          12.     Cook Defendants design, research, develop, manufacture, test, market, advertise,
12   promote, distribute, and sell IVC filters, which are marketed and sold as both permanent and
13   retrievable devices, purportedly to prevent recurrent pulmonary embolism. One such product is
14   the Cook Celect IVC filter at issue in this case.
15          13.     Cook Defendants sought Food and Drug Administration (“FDA”) clearance to
16   market the Cook Celect filter device and/or its components under Section 510(k) of the Medical
17   Device Amendment.
18          14.     On or about April 20, 2007, Defendants obtained FDA clearance to market the
19   Cook Celect filter under Section 510(k) of the Medical Device Amendment.
20          15.     Section 510(k) allows marketing of medical devices if the manufacturer claims the
21   device is substantially equivalent to other legally marketed predicate devices, without formal
22   review of the safety or efficacy of said device. The Cook Defendants claimed that the Celect filter
23   was substantially equivalent to the Cook Gunther Tulip IVC filter, a medical device cleared by the
24   FDA under the Section 510k process on October 18, 2000.
25          16.     An IVC filter, like the Cook Celect filter, is a device ostensibly designed and



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                 Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 5 of 21




 1   intended to filter blood clots (called “thrombi”) that would otherwise travel from the lower portions
 2   of the body to the heart and lungs, resulting in a pulmonary embolism (PE). IVC filters are
 3   marketed as being safe to implant, either temporarily or permanently, within the vena cava.
 4           17.     The inferior vena cava is a vein that returns blood to the heart from the lower
 5   portions of the body. In certain people, and for various reasons, thrombi travel from vessels in the
 6   legs and pelvis, through the vena cava and into the heart and lungs. These thrombi can develop in
 7   the deep leg veins. This condition is called “deep vein thrombosis” or DVT. If the thrombi reach
 8   the lungs they are considered “pulmonary emboli” or PE.
 9           18.     The Celect filter is a retrievable filter and is alleged by Cook as being substantially
10   similar to the Cook Defendants’ Gunther Tulip filter, its predicate device.
11           19.     The Celect filter has four (4) anchoring legs, or struts, for fixation within the IVC
12   and eight (8) independent secondary struts claimed by Cook to improve self-centering and clot
13   trapping.
14           20.     On or about September 25, 2009, Plaintiff was implanted with a Cook Celect filter
15   at Tacoma General Hospital currently known as MultiCare Tacoma General Hospital in Tacoma,
16   Washington. The Cook Celect filter placed in Plaintiff was marketed and sold as appropriate for
17   use as either a retrievable or permanent filter.
18           21.     Plaintiff’s Cook Celect IVC filter subsequently malfunctioned and caused injury
19   and damages to Plaintiff. In particular, Plaintiff’s filter perforated through her IVC, further
20   perforating into her aorta. Plaintiff is at risk for future progressive perforations by the Celect filter
21   which could further injure adjacent organs, blood vessels, and structures, as well as fracturing of
22   the IVC filter and migration of the Celect filter or pieces thereof. Plaintiff faces numerous health
23   risks, including the risk of death. Plaintiff will require ongoing medical care and monitoring for
24   the rest of her life. It is unknown if the filter can be retrieved by any means other than an open
25   surgical procedure.



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                 Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 6 of 21




 1           22.     At all times relevant hereto, the Cook Celect filter was widely advertised and
 2   promoted by the Cook Defendants as safe and effective for prevention of recurrent pulmonary
 3   embolism.
 4           23.     At all times relevant to this complaint, the Cook Defendants knew or should have
 5   known that the Cook Celect IVC filter was defective and knew that defect was attributable to the
 6   design’s failure to withstand the normal anatomical and physiological loading cycles exerted in
 7   vivo.
 8           24.     The Cook Defendants failed to disclose to physicians, patients, or Plaintiff that its
 9   retrievable IVC filters, including the Cook Celect filter, were subject to perforation through the
10   IVC wall, fracture, and migration or the appropriate degree of risk of perforation and damage to
11   the vena cava wall and surrounding organs, blood vessels, and structures.
12           25.     At all times relevant hereto, the Cook Defendants continued to promote Cook’s
13   retrievable IVC filters, including the Cook Celect filter, as safe and effective even though the
14   clinical trials that had been performed were not adequate to support long- or short-term safety or
15   efficacy.
16           26.     Cook Defendants concealed the known risks and failed to warn of known or
17   scientifically knowable dangers and risks associated with the Cook retrievable IVC filters,
18   including the Cook Celect filter, as aforesaid.
19           27.     The failure of the Cook filter is attributable, in part, to the fact that the Cook
20   retrievable IVC filters, including the Cook Celect filter, suffer from a design defect causing the
21   filters to be unable to withstand the normal anatomical and physiological loading cycles exerted
22   in vivo.
23           28.     At all times relevant hereto, the Cook Defendants failed to provide sufficient
24   warnings and instructions that would have put Plaintiff and the general public on notice of the
25   dangers and adverse effects caused by implantation of the Cook Celect filter, including, but not



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               Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 7 of 21




 1   limited to, the design’s failure to withstand the normal anatomical and physiological loading cycles
 2   exerted in vivo.
 3           29.     The Cook Celect filter was designed, manufactured, distributed, marketed,
 4   promoted, sold, and/or supplied by Cook Defendants and was marketed while defective due to the
 5   inadequate warnings, instructions, labeling, and/or inadequate testing in light of Cook Defendants’
 6   knowledge of the product’s failure and serious adverse events.
 7           30.     At all times relevant hereto, the officers and/or directors of the Cook Defendants
 8   named herein participated in, authorized, and/or directed the production and promotion of the
 9   aforementioned products when they knew or should have known of the hazardous and dangerous
10   propensities of said products, and thereby actively participated in the tortious conduct that resulted
11   in the injuries suffered by Plaintiff.
12                                       FRAUDULENT CONCEALMENT
13           31.     The Cook Defendants were under a continuing duty to disclose the true character,
14   quality, and nature of the device that was implanted in Plaintiff, but instead they concealed them.
15   The Cook Defendants remain under a continuing duty to disclose the true character, quality, and
16   nature of the device that was implanted in Plaintiff, but instead they continue to conceal them. The
17   Cook Defendants’ conduct, as described in this complaint, amounts to conduct purposely
18   committed, which they must have realized was dangerous, heedless, and reckless, without regard
19   to the consequences or the rights and safety of Plaintiff.
20                                   CORPORATE/VICARIOUS LIABILITY
21           32.     At all times herein mentioned, the Cook Defendants were agents, servants, partners,
22   aiders and abettors, co-conspirators, and/or joint venturers, and were at all times operating and
23   acting within the purpose and scope of said agency, service, employment, partnership, conspiracy,
24   and/or joint venture and rendered substantial assistance and encouragement to each other, knowing
25   that their collective conduct constituted a breach of duty owed to the Plaintiff.



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                  Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 8 of 21




 1           33.      There exists and, at all times herein mentioned, there existed a unity of interest in
 2   ownership between the Cook Defendants such that any individuality and separateness between
 3   them have ceased and these Defendants are alter egos. Adherence to the fiction of the separate
 4   existence of these Defendants as entities distinct from each other will permit an abuse of the
 5   corporate privilege and would sanction a fraud and/or would not promote injustice.
 6           34.      At all times herein mentioned, the Cook Defendants were engaged in the business
 7   of, or were successors in interest to, entities engaged in the business of researching, designing,
 8   formulating, compounding, testing, manufacturing, producing, processing, assembling, inspecting,
 9   distributing, marketing, labeling, promoting, packaging, prescribing, and/or advertising for sale,
10   and selling products for use by the Plaintiff. As such, each Defendant is individually, as well as
11   jointly and severally, liable to the Plaintiff for Plaintiff’s damages.
12           35.      At all times herein mentioned, the officers and/or directors of the Cook Defendants
13   named herein participated in, authorized and/or directed the production, marketing, promotion and
14   sale of the aforementioned products when they knew, or with the exercise of reasonable care and
15   diligence should have known, of the hazards and dangerous propensities of said products, and
16   thereby actively participated in the tortious conduct that resulted in the injuries suffered by the
17   Plaintiff.
18                                                     COUNT I
19                                                  NEGLIGENCE
20           36.      Plaintiff realleges and incorporates by reference each and every allegation
21   contained in the foregoing paragraphs as though fully set forth herein.
22           37.      At all times relevant to this cause of action, the Cook Defendants were in the
23   business of designing, developing, setting specifications, manufacturing, marketing, promoting,
24   selling, and distributing Cook IVC filters including the Cook Celect IVC filter.
25           38.      The Cook Defendants designed, manufactured, marketed, inspected, labeled,



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              Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 9 of 21




 1   promoted, distributed and sold the Cook Celect filter that was implanted in Plaintiff.
 2          39.       The Cook Defendants had a duty to exercise reasonable and prudent care in the
 3   development, testing, design, manufacture, inspection, marketing, labeling, promotion,
 4   distribution and sale of Cook IVC filters, including the Celect filter, so as to avoid exposing others
 5   to foreseeable and unreasonable risks of harm.
 6          40.       The Cook Defendants knew or reasonably should have known that the Cook Celect
 7   filter was dangerous or was likely to be dangerous when used in its intended or reasonably
 8   foreseeable manner.
 9          41.       At the time of manufacture and sale of the Cook Celect filter (2007 until 2015), the
10   Cook Defendants knew or should have known that the Cook Celect filter was designed and
11   manufactured so as to present an unreasonable risk of the device tilting and/or perforating the vena
12   cava wall.
13          42.       At the time of manufacture and sale of the Cook Celect filter (2007 until 2015), the
14   Cook Defendants knew or should have known that using the Cook Celect filter in its intended use
15   or in a reasonably foreseeable manner created a significant risk of a patient suffering severe health
16   side effects, including, but not limited to: hemorrhage; pericardial effusion; cardiac tamponade;
17   cardiac arrhythmia and other symptoms similar to myocardial infarction; perforations of tissue,
18   vessels, and organs; and other severe personal injuries and diseases, which are permanent in nature,
19   including, but not limited to, death, physical pain and mental anguish, scarring and disfigurement,
20   diminished enjoyment of life, continued medical care and treatment due to chronic injuries/illness
21   proximately caused by the device; and the continued risk of requiring additional medical and
22   surgical procedures including general anesthesia, with attendant risk of life threatening
23   complications.
24          43.       The Cook Defendants knew or reasonably should have known that consumers of
25   the Cook Celect filter would not realize the danger associated with using the device in its intended



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             Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 10 of 21




 1   use and/or in a reasonably foreseeable manner.
 2          44.     The Cook Defendants breached their duty to exercise reasonable and prudent care
 3   in the development, testing, design, manufacture, inspection, marketing, labeling, promotion,
 4   distribution and sale of the Cook Celect filter in, among others, the following ways:
 5          a. Designing and distributing a product in which they knew or should have known that
               the likelihood and severity of potential harm from the product exceeded the burden of
 6             taking safety measures to reduce or avoid harm;
 7          b. Designing and distributing a product in which they knew or should have known that
 8             the likelihood and severity of potential harm from the product exceeded the likelihood
               of potential harm from other devices available for the same purpose;
 9
            c. Failing to use reasonable care in manufacturing the product and producing a product
10             that differed from their design or specifications or from other typical units from the
               same production line;
11
            d. Failing to use reasonable care to warn or instruct, including pre and post-sale, Plaintiff,
12             Plaintiff’s physicians, Plaintiff’s agents or the general health care community about the
13             Cook Celect filter’s substantially dangerous condition or about facts making the
               product likely to be dangerous;
14
            e. Failing to perform reasonable pre and post-market testing of the Cook Celect filter to
15             determine whether or not the product was safe for its intended use;
16          f. Failing to provide adequate instructions, guidelines, and safety precautions, including
               pre and post-sale, to those persons to whom it was reasonably foreseeable would
17             prescribe, use, and implant the Cook Celect filter;
18
            g. Advertising, marketing and recommending the use of the Cook Celect filter, while
19             concealing and failing to disclose or warn of the dangers known by Defendants to be
               connected with and inherent in the use of the Cook Celect filter;
20
            h. Representing that the Cook filter was safe for its intended use when in fact, the Cook
21             Defendants knew and should have known the product was not safe for its intended
               purpose;
22

23          i. Continuing manufacture and sale of the Cook Celect filter with the knowledge that said
               product was dangerous and not reasonably safe;
24
            j. Failing to use reasonable and prudent care in the design, research, manufacture, and
25             development of the Cook Celect filter so as to avoid the risk of serious harm associated
               with the use of the Cook Celect filter;


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             Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 11 of 21




            k. Advertising, marketing, promoting and selling Cook Celect filter for uses other than as
 1
               approved and indicated in the product’s label;
 2
            l. Failing to establish an adequate quality assurance program used in the manufacturing
 3             of the Cook Celect filter; and,

 4          m. Failing to establish and maintain an adequate post-market surveillance program.
 5          45.       A reasonable manufacturer, distributor, or seller under the same or similar

 6   circumstances would not have engaged in the aforementioned acts and omissions.

 7          46.       As a direct and proximate result of the foregoing negligent acts and omissions by

 8   the Cook Defendants, Plaintiff has suffered a serious medical complication for which the solution

 9   and ultimate economic loss is yet to be determined.

10                                               COUNT II

11                         STRICT PRODUCTS LIABILITY – FAILURE TO WARN

12          47.       Plaintiff realleges and incorporates by reference each and every allegation

13   contained in the foregoing paragraphs as though fully set forth herein.

14          48.       The Cook Defendants designed, set specifications, manufactured, prepared,

15   compounded, assembled, processed, marketed, labeled, distributed, and sold the Cook filters,

16   including the Cook Celect filter implanted into Plaintiff, into the stream of commerce and in the

17   course of same, directly advertised and marketed the device to consumers or persons responsible

18   for consumers.

19          49.       At the time the Cook Defendants designed, manufactured, prepared, compounded,

20   assembled, processed, marketed, labeled, distributed, and sold the Celect filter into the stream of

21   commerce, the Cook Defendants knew or should have known the device presented an unreasonable

22   danger to users of the product when put to its intended and reasonably anticipated use.

23   Specifically, the Cook Defendants knew or should have known at the time they manufactured,

24   labeled, distributed and sold the Cook Celect filter that was implanted in Plaintiff, that the Cook

25   Celect filter, inter alia, posed a significant and higher risk than other similar devices of device



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                  Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 12 of 21




 1   failure (fracture, migration, tilting, and perforation of the vena cava wall) and resulting serious
 2   injuries.
 3           50.      Consequently, the Cook Defendants had a duty to warn of the risk of harm
 4   associated with the use of the device and to provide adequate instructions on the safe and proper
 5   use of the device.
 6           51.      The Cook Defendants further had a duty to warn of dangers and proper safety
 7   instructions that they became aware of even after the device was distributed and implanted in
 8   Plaintiff.
 9           52.      Despite their duties, the Cook Defendants failed to adequately warn of material
10   facts regarding the safety and efficacy of the Cook IVC filters, including the Cook Celect filter,
11   and further failed to adequately provide instructions on the safe and proper use of the device.
12           53.      No health care provider, including Plaintiff’s, patient or patient’s agent would have
13   used the device in the manner directed, had those facts been made known to the prescribing
14   healthcare providers and/or ultimate users of the device.
15           54.      The health risks associated with the device as described herein are of such a nature
16   that ordinary consumers would not have readily recognized the potential harm.
17           55.      Plaintiff and Plaintiff’s health care providers used the device in a normal,
18   customary, intended, and foreseeable manner, namely as a surgically implanted device used to
19   prevent pulmonary embolisms.
20           56.      Therefore, the Cook Celect filter implanted in Plaintiff was defective and
21   unreasonably dangerous at the time of release into the stream of commerce due to inadequate
22   warnings, labeling and/or instructions accompanying the product.
23           57.      The Cook Celect filter implanted in Plaintiff was in the same condition as when it
24   was manufactured, inspected, marketed, labeled, promoted, distributed and sold by the Cook
25   Defendants.



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              Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 13 of 21




 1          58.     As a direct and proximate result of the foregoing negligent acts and omissions by
 2   the Cook Defendants, Plaintiff has suffered a serious medical complication for which the solution
 3   and ultimate economic loss is yet to be determined.
 4                                               COUNT III
 5                      STRICT PRODUCTS LIABILITY – DESIGN DEFECT
 6          59.     Plaintiff realleges and incorporates by reference each and every allegation
 7   contained in the foregoing paragraphs as though fully set forth herein.
 8          60.     At all times relevant to this action, the Cook Defendants developed, tested,
 9   designed, manufactured, inspected, labeled, promoted, distributed and sold into the stream of
10   commerce the Cook IVC filters, including the Cook Celect filter implanted in Plaintiff.
11          61.     The Cook Celect filter was expected to, and did, reach its intended consumers
12   without substantial change in the condition in which it was in when it left the Cook Defendants’
13   possession. In the alternative, any changes that were made to Cook filter implanted in Plaintiff
14   were reasonably foreseeable to the Cook Defendants.
15          62.     The Cook Celect filter implanted in Plaintiff was defective in design because it
16   failed to perform as safely as persons who ordinarily use the product would have expected at the
17   time of use.
18          63.     The Cook Celect filter implanted in Plaintiff was defective in design, in that its risks
19   of harm exceeded its claimed benefits.
20          64.     Plaintiff and Plaintiff’s health care providers used the Cook Celect filter in a manner
21   that was reasonably foreseeable to the Cook Defendants.
22          65.     Neither Plaintiff, nor Plaintiff’s health care providers could have, by the exercise
23   of reasonable care, discovered the device’s defective condition or perceived its unreasonable
24   dangers prior to Plaintiff’s implantation with the device.
25          66.     As a direct and proximate result of the foregoing negligent acts and omissions by



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              Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 14 of 21




 1   the Cook Defendants, Plaintiff has suffered a serious medical complication for which the solution
 2   and ultimate economic loss is yet to be determined.
 3                                                  COUNT IV
 4                   STRICT PRODUCTS LIABILITY – MANUFACTURING DEFECT
 5          67.     Plaintiff realleges and incorporates by reference each and every allegation
 6   contained in the foregoing paragraphs as though fully set forth herein.
 7          68.     The Cook Defendants designed, set specifications, manufactured, prepared,
 8   compounded, assembled, processed, marketed, labeled, distributed, and sold the Cook IVC filter
 9   that was implanted into Plaintiff.
10          69.     The Cook Celect filter implanted in Plaintiff contained a condition or conditions,
11   which Defendants did not intend, at the time it left the Cook Defendants’ control and possession.
12          70.     Plaintiff and Plaintiff’s health care providers used the device in a manner that was
13   reasonably foreseeable to the Cook Defendants.
14          71.     As a result of this condition or these conditions, the product injured Plaintiff and
15   failed to perform as safely as the ordinary consumer would expect when used in a reasonably
16   foreseeable manner.
17          72.     As a direct and proximate result of the foregoing negligent acts and omissions by
18   the Cook Defendants, Plaintiff has suffered a serious medical complication for which the solution
19   and ultimate economic loss is yet to be determined.
20                                              COUNT V
21                                                FRAUD
22          73.     Plaintiff realleges and incorporates by reference each and every allegation
23   contained in the foregoing paragraphs as though fully set forth herein.
24          74.     At all times relevant to this cause of action, the Cook Defendants were in the
25   business of designing, developing, setting specifications for, licensing, manufacturing, preparing,



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              Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 15 of 21




 1   packaging, maintaining, labeling, compounding, assembling, processing, promoting, selling,
 2   distributing, and marketing Cook Gunther Tulip IVC filters and Cook Celect IVC filters.
 3          75.     At the time Plaintiff was implanted the Cook Defendants developed, tested,
 4   designed, manufactured, inspected, labeled, promoted, distributed, marketed, and sold into the
 5   stream of commerce the Cook Celect IVC filter placed in her body.
 6          76.     At all times relevant to this action, the Cook Defendants designed, researched,
 7   developed, manufactured, tested, labeled, inspected, advertised, promoted, marketed, sold, and
 8   distributed into the stream of commerce the Gunther Tulip and Celect IVC filters for use as a
 9   surgically implanted device used to prevent pulmonary embolisms and for uses other than as
10   approved and indicated in the product’s instructions, warnings, and labels.
11          77.     The Cook Defendants falsely and fraudulently represented to Plaintiff, her
12   physicians, and other members of the general public, that the Cook Celect IVC filter:
                    a.     Has been proven to effectively prevent pulmonary embolism;
13

14                  b.      Was self-centering and offered efficient clot trapping;

15                  c.      Was designed to minimize the most common filter complications;

16                  d.      The anchors on the filter created secure, atraumatic attachments to the caval
                            wall;
17
                    e.      Provided enhanced retrievability giving an extended time for retrieval; and,
18
                    f.      Could safely stay in place permanently in the body.
19

20          78.     In the Clinical Study section of the Instructions for Use provided to the physicians
21   who were implanting the Cook Celect IVC filter, including the filter implanted in the Plaintiff, the
22   Cook Defendants states a clinical study involved a 74 patient cohort, with follow-up conducted at
23   1 month (60 of 69 possible patients), 3 months (50 of 58 possible patients) and 6 months (37 of 41
24   possible patients) consisting of clinical exam and imaging by X-ray and duplex ultrasound, no
25   device related major adverse events (defined as hemorrhage, perforation, death, occlusion, filter



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                Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 16 of 21




 1   fracture or significant filter migration) occurred.
 2          79.     The representations by the Cook Defendants were, in fact, false. The true facts were
 3   that the Cook Celect IVC filter is not safe for long term/permanent surgical implantation for said
 4   purposes, it has not been proven the filter effectively prevents pulmonary embolism; the filter
 5   presents a high risk of perforation through the caval wall, the filter has a high risk for fracture, and
 6   the filter is not safe for permanent placement in the body. In the clinic study that was presented to
 7   physicians through the instructions for use, the IFU gives a false sense of safety by reporting on a
 8   subset of OUS patients regarding high rates of successful retrieval rates and no complications,
 9   which has been shown to be incorrect. The retrieval rates listed give a false sense of safety when
10   the OUS study did not address safety, and falsified complication and perforation rates. The Celect
11   filter was and is, in fact, dangerous to the health and body of Plaintiff.
12          80.     When the Cook Defendants made the aforesaid representations, and others, they
13   knew them to be false, and those representations were made by the Cook Defendants with the
14   intent to defraud and deceive Plaintiff and her physicians, and with the intent to induce Plaintiff
15   and her physicians to act in the manner herein alleged, i.e., to use the Cook Celect IVC filter in
16   surgery.
17          81.     As a direct and proximate result of the foregoing negligent acts and omissions by
18   the Cook Defendants, Plaintiff has suffered a serious medical complication for which the solution
19   and ultimate economic loss is yet to be determined.
20                                                COUNT VI
21                               NEGLIGENT MISREPRESENTATION
22          82.     Plaintiff realleges and incorporates by reference each and every allegation
23   contained in the foregoing paragraphs as though fully set forth herein.
24          83.     At all times relevant to this cause, and as detailed herein, the Cook Defendants
25   negligently provided Plaintiff, Plaintiff’s health care providers, and the general medical



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                Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 17 of 21




 1   community with false or incorrect information, or omitted or failed to disclose material
 2   information concerning Cook IVC filters and the Cook Celect filter; including, but not limited to,
 3   misrepresentations relating to the safety, efficacy, failure rate and approved uses of the Cook IVC
 4   filter.
 5             84.   The Cook Defendants falsely represented to Plaintiff, her physicians, and other
 6   members of the general public, that the Cook Celect IVC filter:
                  a. Was proven to be hemodynamically effective;
 7

 8                   b. Has been proven to effectively prevent pulmonary embolism;

 9                   c. Was self-centering and offered efficient clot trapping;

10                   d. Was designed to minimize the most common filter complications;

11                   e. The anchors on the filter created secure atraumatic attachments to the caval
                        wall;
12
                     f. Provided enhanced retrievability giving an extended time for retrieval; and
13
                     g. Could safely stay in place permanently in the body.
14

15             85.   In the Clinical Study section of the Instructions for Use provided to the physicians
16   who were implanting the Cook Celect IVC filter, including the filter implanted in the Plaintiff, the
17   Cook Defendants states a clinical study involved a 74 patient cohort, with follow-up conducted at
18   1 month (60 of 69 possible patients), 3 months (50 of 58 possible patients) and 6 months (37 of 41
19   possible patients) consisting of clinical exam and imaging by X-ray and duplex ultrasound, no
20   device related major adverse events (defined as hemorrhage, perforation, death, occlusion, filter
21   fracture or significant filter migration) occurred.
22             86.   The representations by the Cook Defendants were, in fact, false. The true facts were
23   that the Cook Celect IVC filter is not safe for long term/permanent surgical implantation for said
24   purposes, it has not been proven the filter effectively prevents pulmonary embolism; the filter
25   presents a high risk of perforation through the caval wall, the filter has a high risk for fracture, and


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                 Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 18 of 21




 1   the filter is not safe for permanent placement in the body. In the clinic study that was presented to
 2   physicians through the instructions for use, the IFU gives a false sense of safety by reporting on a
 3   subset of OUS patients regarding high rates of successful retrieval rates and no complications,
 4   which has been shown to be incorrect. The retrieval rates listed give a false sense of safety when
 5   the OUS study did not address safety, and falsified complication and perforation rates. The Celect
 6   filter was and is, in fact, dangerous to the health and body of Plaintiff.
 7           87.     The information distributed by the Cook Defendants to the public, the medical
 8   community and Plaintiff’s health care providers, including reports, press releases, advertising
 9   campaigns, labeling materials, print advertisements, commercial media containing material
10   representations, was false and misleading, and contained omissions and concealment of truth about
11   the dangers of the use of the Cook IVC filters, including the Cook Celect Filter. The Cook
12   Defendants made the foregoing misrepresentations knowing that they were false and/or without
13   reasonable basis in fact. These materials included instructions for use and warning document that
14   was included in the packaging of the Cook Celect filter that was implanted in Plaintiff.
15           88.     The Cook Defendants’ intent and purpose in making these misrepresentations was
16   to deceive and defraud the public and the medical community, including Plaintiff’s health care
17   providers; to gain the confidence of the public and the medical community, including Plaintiff’s
18   health care providers; to falsely assure them of the quality of the Cook IVC filters, including the
19   Celect IVC filter and its fitness for use; and to induce the public and the medical community,
20   including Plaintiff’s healthcare providers to request, recommend, prescribe, implant, purchase, and
21   continue to use Cook IVC filters, including the Cook Celect filter.
22           89.     In reliance upon the false and negligent misrepresentations and omissions made by
23   the Cook Defendants, Plaintiff, Plaintiff’s health care providers and the Plaintiff’s agents were
24   induced to, and did use the Cook Celect filter, thereby causing Plaintiff to sustain severe personal
25   injuries.



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              Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 19 of 21




 1           90.      The Cook Defendants knew and had reason to know that Plaintiff, Plaintiff’s health
 2   care providers, and the general medical community did not have the ability to determine the true
 3   facts intentionally and/or negligently concealed and misrepresented by the Cook Defendants, and
 4   would not have prescribed and implanted same, if the true facts regarding the device had not been
 5   concealed and misrepresented by the Cook Defendants.
 6           91.      The Cook Defendants had sole access to material facts concerning the defective
 7   nature of the product and its propensity to cause serious and dangerous side effects in the form of
 8   dangerous injuries and damages to persons who are implanted with the Cook filter.
 9           92.      At the time Cook Defendants failed to disclose and misrepresented the foregoing
10   facts, and at the time Plaintiff used the Cook Celect filter, Plaintiff, Plaintiff’s health care providers
11   and the Plaintiff’s agents were unaware of said Cook Defendants’ negligent misrepresentations
12   and omissions.
13           93.      Plaintiff, Plaintiff’s health care providers, the Plaintiff’s agents and general medical
14   community reasonably relied upon misrepresentations and omissions made by the Cook
15   Defendants where the concealed and misrepresented facts were critical to understanding the true
16   dangers inherent in the use of the Cook Celect filter.
17           94.      Plaintiff, Plaintiff’s health care provider’s and Plaintiff’s agents’ reliance on the
18   foregoing misrepresentations and omissions by Cook Defendants were the direct and proximate
19   cause of Plaintiff’s injuries as described herein.
20                                                    COUNT VII
21                                              PUNITIVE DAMAGES
22           95.      Plaintiff realleges and incorporates by reference each and every allegation
23   contained in the foregoing paragraphs as though fully set forth herein.
24           96.      The actions and inactions of all the Defendants, and or alternatively the employees
25   or agents of Defendants, and their predecessors-in-interest, whether taken separately, or together,



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              Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 20 of 21




 1   were of such a character as to constitute a pattern or practice of intentional wrongful conduct and/or
 2   malice resulting in the injury and damages of Plaintiff KRISTI L. CAMERON.
 3          97.     More specifically, Defendants, or alternatively the employees or agents of
 4   Defendants, and their predecessors-in-interest, consciously and/or deliberately concealed risks
 5   associated with their product and nevertheless proceeded with conscious indifference to the rights,
 6   safety, and welfare of Plaintiff KRISTI L. CAMERON by failing to act to disclose these risks to
 7   her or her healthcare professionals.
 8          98.     Defendants are guilty of oppression, fraud, and/or malice, express or implied for
 9   which they should be held liable in punitive damages to Plaintiff KRISTI L. CAMERON.
10                                      PRAYER FOR DAMAGES
11          WHEREFORE, Plaintiff, KRISTI L. CAMERON, prays for relief on the entire complaint,
12   as follows:
              a.    Judgment to be entered against all Defendants on all causes of action of the
13
                    Complaint, including but not limited to:
14
                    1.      Mental anguish in the past and which, in reasonable probability, she will
15                          sustain in the future; and,

16                  2.      Reasonable and necessary medical expenses for treatment received in the
                            past and, based upon reasonable medical probability, the reasonable
17                          medical expenses she will need in the future;
18          b.      Plaintiff be awarded full, fair, and complete recovery for all claims and causes of
19                  action relevant to this action;

20          c.      Plaintiff be awarded all appropriate costs, fees, expenses, and pre-judgment and
                    post-judgment interest on the judgments entered in Plaintiff’s behalf; and,
21
            d.      Such other relief the court deems just and proper.
22
                                      DEMAND FOR JURY TRIAL
23

24   ///
25   ///



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             Case 3:22-cv-05636-DGE Document 1 Filed 08/30/22 Page 21 of 21




 1         Plaintiff hereby demands trial by jury on all issues.
 2   Dated: August 30, 2022                              Respectfully Submitted,
                                                         /s/ Colette McEldowney___________
 3
                                                         Colette McEldowney
 4                                                       WBN 50429
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 7
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 8                                                       Attorney for Plaintiff

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